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                                                                     11//2021
                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK

SHAOXUAN ZHANG, derivatively on
behalf of ATERIAN, INC.,

     Plaintiff,                     Case No. 1:21-cv-08657-VM
                                    Master Case No. 1:21-cv-04323
     v.

YANIV SARIG, FABRICE HAMAIDE,
ARTURO RODRIGUEZ, BARI A.
HARLAM, WILLIAM KURTZ, GREG
B. PETERSEN, and AMY VON
WALTER,

     Defendants,

     and

ATERIAN, INC.,

     Nominal Defendant.

MICHAEL SHELLER, Derivatively on
behalf of ATERIAN, INC.,

             Plaintiff,             Case No. 1:21-cv-08733-VM
                                    Master Case No. 1:21-cv-04323
     v.

YANIV SARIG, FABRICE HAMAIDE,
GREG B. PETERSEN, BARI A.
HARLAM, AMY VON WALTER, AND
WILLIAM KURTZ,

             Defendants,

     -and-

ATERIAN, INC., a Delaware
corporation,

             Nominal Defendant.
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  ORDER DECONSOLIDATING SHAREHOLDER DERIVATIVE ACTIONS
     FROM RELATED SECURITIES CLASS ACTION, REOPENING
 DERIVATIVE ACTIONS, AND CONSOLIDATING DERIVATIVE ACTIONS

       Upon review of letter application (the “Letter”) by counsel for plaintiffs

Shaoxuan Zhang and Michael Sheller in the above-captioned shareholder derivative

actions, captioned Zhang v. Aterian, Inc., et al., Case No. 1:21-cv-08657 (the “Zhang

Action”) and Sheller v. Aterian, Inc., et al., Case No. 1:21-cv-08733 (the “Sheller

Action”), seeking, inter alia, deconsolidation of the Zhang Action and the Sheller

Action from a related securities class action, captioned Nolff , et al. v. Aterian, Inc.,

et al., Case No. 1:21-cv-04323 (the “Securities Class Action”); and after due

deliberation thereon; this Court determines that the legal and factual bases set forth

in the Letter establish just cause for the deconsolidation of the Zhang Action and the

Sheller Action from the Securities Class Action.         The Parties must coordinate

discovery and other pretrial proceedings to the greatest extent possible in these

Actions.

      Furthermore, upon consideration of the Letter’s request that the Zhang Action

and the Sheller Action be consolidated for all purposes into a consolidated

derivative action; and after due deliberation thereon, having reviewed the

complaints and other papers filed with the Court in the Zhang Action and the

Sheller Action; this Court determines that in all material respects the papers

describe substantially similar underlying events arising out of the same or

similar operative facts, and that the parties in the Zhang Action and the Sheller

Action are substantially the same parties, establishing           just   cause   for   the

consolidation of the Zhang Action and the Sheller Action into a consolidated

derivative action.    Accordingly, it is HEREBY ORDERED THAT:
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         1. The Zhang Action, captioned Zhang v. Aterian, Inc., et al., Case No. 1:21-

            cv-08657, is hereby deconsolidated from the Securities Class Action,

            captioned Nolff, et al. v. Aterian, Inc., et al., Case No. 1:21-cv-04323;

         2. The Zhang Action, captioned Zhang v. Aterian, Inc. et al., Case No. 1:21-

            cv-08657, is hereby reopened as an active matter before the Court;

         3. The Sheller Action, captioned Sheller v. Aterian, Inc., et al., Case No. 1:21-

            cv-08733, is hereby deconsolidated from the Securities Class Action,

            captioned Nolff, et al. v. Aterian, Inc., et al., Case No. 1:21-cv-04323;

         4. The Sheller Action, captioned Sheller v. Aterian, Inc., et al., Case No. 1:21-

            cv-08733, is hereby reopened as an active matter before the Court for the

            limited purpose of the entry of this Order;

      The above-captioned Zhang Action and Sheller Action are consolidated for

            all purposes;

      All filings in connection with the consolidated derivative action shall be

            docketed against the lower numbered case, Case No. 1:21-cv-08657; and

      Following the consolidation of the Zhang Action and the Sheller Action,

            the referenced higher numbered case, 1:21-cv-08733, shall be closed and

            removed from the Court’s docket.


SO ORDERED:

Dated:     November , 2021
